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                        UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON
                                 EUGENE DIVISION
____________________________________
                                      )
WILLAMETTE RIVERKEEPER, an            )
Oregon non-profit corporation,        )
                                      )
                     Plaintiff,       )
                                      )
       v.                             )     Case No. 6:20-cv-01760-AA
                                      )
CITY OF ALBANY,                       )      CONSENT DECREE
et al.                                )
                                      )
                     Defendants.      )
___________________________________ )

                                 I.     STIPULATIONS

       The CITY OF ALBANY is an owner of the Albany-Millersburg Water Reclamation

Facility, a publicly owned treatment works, including wastewater collection and transmission

facilities, for the treatment of wastewater from discharges within the Cities of Albany and

Millersburg (“Reclamation Facility”). The City of Albany operates the Reclamation Facility

pursuant to National Pollutant Discharge Elimination System Permit No. 102024 (“NPDES

Permit 102024”) issued by the Oregon Department of Environmental Quality (“DEQ”);

       The CITY OF ALBANY owns and operates a small municipal separate storm sewer

system (“MS4”) for the collection and discharge of stormwater generated within the City of

Albany and discharged to the City’s MS4. On June 25, 2015, the City of Albany provided to

the DEQ the notification form for permit coverage under the Municipal Separate Storm Sewer

System Phase II National Pollutant Discharge Elimination System program;

       PETER TROEDSSON is the City Manager for the City of Albany;

       Plaintiff WILLAMETTE RIVERKEEPER is a 501(c)(3) nonprofit environmental

organization;




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       By letter dated August 27, 2019, Plaintiff WILLAMETTE RIVERKEEPER issued a

notice of intent to sue alleging, among other things, that the City of Albany violated NPDES

Permit 102024, the Federal Clean Water Act and the Oregon Revised Statutes 468B et seq.,

and implementing administrative rules regarding operation of its Reclamation Facility;

       By letter dated January 31, 2020, Willamette Riverkeeper issued a second notice of

intent to sue alleging, among other things, that the City of Albany violated the Federal Water

Pollution Control Act regarding operation of its MS4;

       On October 13, 2020, Willamette Riverkeeper filed an action under the citizen suit

provisions of the Clean Water Act, 33 U.S.C. §§ 1251 et seq. (“Complaint”), alleging that the

Defendants CITY OF ALBANY ET AL. (collectively, “City of Albany”) violated Sections

301(a) and 402 of the Clean Water Act (“CWA”), 33 U.S.C. §§ 1311(a) and 1342, including

violations alleged in the August 27, 2019 and January 31, 2020 notices of intent to sue;

       Willamette Riverkeeper and the City of Albany intend for and agree that entry of this

Consent Decree by the Court will resolve all claims alleged in the Complaint and the August

27, 2019 and January 31, 2020 notices of intent to sue. The Complaint seeks declaratory and

injunctive relief, the imposition of civil penalties, and an award of litigation expenses,

including attorney and expert fees;

       The CITY OF ALBANY denies any fault, wrongdoing, or liability for any and all

claims and relief sought by Willamette Riverkeeper in this action;

       The CITY OF ALBANY obtained coverage under the Oregon Department of

Environmental Quality’s Waste Discharge National Pollution Discharge Elimination System

General Permit in June 2021 (the “Small MS4 NPDES General Permit”);

       The CITY OF ALBANY obtained coverage under NPDES Permit 102024 in November

2000 (the “Waste Discharge Permit”). In 2005, the City of Albany timely applied to the DEQ




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for renewal of NPDES Permit 102024, and NPDES Permit 102024 remains administratively

extended and in full force and effect;

        The CITY OF ALBANY developed a Wastewater Collection System Facility Plan in

2015. The City of Albany developed a Capacity, Management, Operation and Maintenance

(“CMOM”) program plan for its wastewater discharge system in 2012 and updated the CMOM

program plan in 2020. The City of Albany represents that it invested upwards of $10,110,000

to construct the River Front Interceptor Wet Weather Lift Station and Force Main project in

2020 to address capacity constraints in the wastewater collection, transmission and discharge

system;

        The Parties recognize, without trial, adjudication or admission of facts or law regarding

the claims and allegations set forth in Willamette Riverkeeper’s notices of intent to sue or

Complaint in this action, and the Court by entering this Consent Decree finds, that this Consent

Decree has been negotiated by the Parties in good faith, that settlement of this matter is fair,

reasonable, and in the public interest, and that entry of this Consent Decree without further

litigation is an appropriate resolution of this action;

        NOW, THEREFORE, with the consent of the Parties, it is hereby ordered, adjudged,

and decreed as follows:

                            II.     JURISDICTION AND VENUE

        1.      Jurisdiction over this action is conferred by 28 U.S.C. § 1331 (federal question)

and 33 U.S.C. § 1365(a) (Clean Water Act jurisdiction). An actual, justiciable controversy

exists between Plaintiff and Defendant. The requested relief is proper under 28 U.S.C. § 2201,

28 U.S.C. § 2202 and 33 U.S.C. § 1365(a).

        2.      Venue is properly vested in this Court pursuant to 33 U.S.C. § 1365(c)(1),

because the alleged events giving rise to this action occurred within the CITY OF ALBANY,




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which is located within this judicial district, and of which PETER TROEDSSON is the City

Manager.

                             III.   PROCEDURAL POSTURE
       3.      Within fourteen (14) days of the date of the Parties informing the Court of this

Consent Decree and requesting to stay all deadlines pursuant to Paragraph 22, WILLAMETTE

RIVERKEEPER shall file a Fed. R. Civ. P. 41 Notice of Dismissal with prejudice as to PETER

TROEDSSON,         INDIVIDUALLY           AND       IN    HIS     CAPACITY         AS      CITY

MANAGER. WILLAMETTE RIVERKEEPER agrees to not move for fees and/or costs against

PETER TROEDSSON in this matter.

         IV.     SMALL MUNICIPAL SEPARATE STORM SEWER SYSTEM
                          (“SMALL MS4”) SYSTEM AND PROGRAM
       4.      By October 1, 2023, the CITY OF ALBANY will provide a draft Stormwater

Management Plan to WILLAMETTE RIVERKEEPER for review and comment, with

comments due back to the CITY OF ALBANY within sixty (60) days. The CITY OF

ALBANY will review WILLAMETTE RIVERKEEPER’s input in good faith but is not

obligated to respond.

       5.      By June 30, 2023, the CITY OF ALBANY will update the Albany Municipal

Code Title 12, the City’s Engineering Design Standards (Division D and E) and Construction

Specifications, as well as the Albany Development Code to reflect the green infrastructure

requirements per section A.3.e. of the CITY OF ALBANY’s Small MS4 NPDES General

Permit for Post-Construction Site Runoff for New Development and Redevelopment. For these

projects, construction activities for project sites discharging stormwater to the MS4 that create

or replace 5,000 square feet or more of impervious area are required to implement green

infrastructure to the maximum extent practicable and be designed to capture, infiltrate and treat

runoff up to the design storm. Projects that cannot meet the site performance and treatment

standards will be evaluated for Offsite Stormwater Mitigation as described below.


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Redevelopment does not include maintenance activities as defined in the Small MS4 NPDES

General Permit. Examples of green infrastructure include pervious pavement, streetside

planters or swales, and onsite planters or swales, among others. For code and standards updates

that require the approval of City Council, the CITY OF ALBANY agrees to provide copies of

the documents going before Council thirty (30) days prior to the scheduled Council meeting

for WILLAMETTE RIVERKEEPER for review. The CITY OF ALBANY will review

WILLAMETTE RIVERKEEPER input in good faith but is not obligated to respond. For

purposes of this Consent Decree, the phrase “discharging stormwater to the MS4” shall include

stormwater runoff entering the MS4, directly or indirectly, and shall not be limited to point

source discharges.

       6.      By December 31, 2022, the CITY OF ALBANY will develop a written

description and policy for an Offsite Stormwater Mitigation program as described in section

A.3.e.iv.D of the CITY OF ALBANY’s Small MS4 NPDES General Permit. Offsite

stormwater mitigation may be used when site conditions (e.g., physical constraints,

topography, soil conditions) prohibit or make impracticable the use of on-site infiltration or

meeting the treatment requirements. This mitigation program includes a stormwater payment-

in-lieu program to fund off-site stormwater treatment facilities within the same sub-watershed

to the maximum extent practicable.

       7.      By June 30, 2023, the CITY OF ALBANY will adopt a policy consistent with

the National Capital Region Transportation Planning Board Policy and incorporate it into the

City's Engineering Standards, Division E. Draft proposed policy language: All CITY OF

ALBANY financed and approved transportation projects shall, to the maximum extent

practicable, use approved green infrastructure such as swales, planters, and other engineered




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vegetated Stormwater Quality Facilities to capture, filter, and/or treat stormwater runoff within

the right-of-way, in a manner appropriate to the function and context of the facility.

       8.      When designing projects which will replace existing stream crossing

infrastructure, the CITY OF ALBANY shall assess the project for opportunities for stream

restoration and/or stream daylighting, when feasible, to reduce flooding, improve water quality,

and aquatic habitat.

       9.      The CITY OF ALBANY shall provide written confirmation to WILLAMETTE

RIVERKEEPER that it has satisfied the commitments in Paragraphs 4 through 7 within seven

(7) days of the dates specified therein. The CITY OF ALBANY shall maintain written records

of its assessments performed under Paragraph 8.

                          V.     WASTE DISCHARGE SYSTEM

       10.     By March 1, 2022, the CITY OF ALBANY will develop and implement a

wastewater overflow sampling program for bacteria;

       11.     By March 1, 2022, the CITY OF ALBANY will review its public notification

system for wastewater overflows and establish a social media and text-alert based system for

overflows;

       12.     By March 1, 2022, the CITY OF ALBANY will develop and implement a

written procedure for using a consistent source of rain gauge data as the primary source for

rainfall information to describe rain events for each waste discharge system outfall, and to

identify a backup rain gauge in case the primary rain gauge data is unavailable or the device

is not functioning. Such criteria or guidance shall be used for all sanitary sewer overflow

(SSO) reporting to the Oregon Department of Environmental Quality;

       13.     On or before March 30, 2022, the CITY OF ALBANY will provide written

confirmation to WILLAMETTE RIVERKEEPER that it has satisfied the commitments

performed under Paragraphs 10 through 12.



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      14.     With the NPDES Permit 102024 renewal data that the CITY OF ALBANY will

submit to DEQ (NPDES Permit 102024 is currently anticipated to be renewed in 2023), the

CITY OF ALBANY will include a written review of the 2015 Collection System Facility Plan

and confirm that its analysis of system capacity is current and accurate.

              VI.    SUPPLEMENTAL ENVIRONMENTAL PROJECTS

      15.     In lieu of a penalty, within fourteen (14) days of the entry of this Consent

Decree, the CITY OF ALBANY shall make payments totaling one hundred and twenty-five

thousand dollars ($125,000.00) (the “Total SEP Payment”) to the Calapooia Watershed

Council, the North Santiam Watershed Council, and the South Santiam Watershed Council

(the “SEP Recipients”). The following provides a summary of each SEP described in more

detail in the letters attached as Attachment A:

     a. Calapooia Watershed Council.
     The project is within the Periwinkle Creek system, which hosts a high diversity of native
     fish species, including Chinook salmon, Steelhead trout, cutthroat trout, Pacific lamprey
     and native sculpin, suckers and sandrollers. The project cost estimate is $42,000 of SEP
     funding. The project will include restoration efforts to create direct habitat and water
     quality improvements, and public outreach for community involvement and education.
     Direct restoration improvements include restoration of native shrub and tree populations
     along a two thousand linear feet segment of Periwinkle Creek located near Periwinkle
     Park. Approximately 4 acres will be planted using SEP funds with native species
     selected for fast growth and drought tolerance. The Calapooia Watershed Council will
     further use no more than fifty percent (50%) of the SEP funds for organization and
     facilitation of public outreach activities and the development of outreach materials for
     effective visualization and communication to help describe and promote Periwinkle
     Creek restoration efforts.
      b. South Santiam Watershed Council.
      The project is located in the Thomas Creek subbasin of the South Santiam River. The
      project is located on a parcel owned by the Avery Family within a reach that when
      restored would offer spawning and rearing habitat for Upper Willamette River spring
      Chinook and steelhead, as well as several migratory and resident lamprey and native
      fish species. The project includes log placement and supplemental plantings in the
      riparian area adjacent to the log structures. Approximately five (5) structures will be
      placed within the one kilometer reach. The project will impact a greater area of stream
      than its footprint by engaging an island and side channel in addition to the instream
      effects both up and downstream of the project location. South Santiam Watershed
      Council has secured additional fund for interpretive signs about watershed restoration



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         and salmon habitat which will be placed near the log structure placements. The project
         will use $41,000 of SEP funds.
         c. North Santiam Watershed Council.
         The project is located along Panther Creek, which is a tributary of the Little North Fork
         Santiam River and North Santiam River, a subbasin within which approximately
         ninety-four percent (94%) of mostly forested land burned during the 2020 wildfire. The
         Little North Fork Santiam/North Santiam River is critical habitat for Upper Willamette
         River spring Chinook salmon and winter steelhead, as well as other species of concern.
         The project will improve and restore a private road stream crossing and restore
         approximately one (1) acre of riparian habitat on both sides of the stream reach, and
         improve access to approximately two (2) miles of upstream habitat. The project will
         improve flow conveyance and sediment and debris transport capacity and allow for
         year-round fish passage. The riparian plantings will help stabilize soils and provide a
         vegetated buffer to improve water quality. The project will use $42,000 of SEP funds.
         Letters from the SEP Recipients agreeing to accept SEP funds according to the Consent

      Decree are attached hereto as Attachment A. Such payments shall be made within fourteen

      (14) days of the entry of this Consent Decree by the Court by checks payable and mailed

      to the SEP Recipients and shall bear the notation “Willamette Riverkeeper v. City of

      Albany, Clean Water Act Settlement.” The CITY OF ALBANY shall notify

      WILLAMETTE RIVERKEEPER in writing when the payment(s) are made and provide a

      copy of the check(s).

          SEP Recipient Name                                Mailing Address

 Calapooia Watershed Council              351 North Main Street/PO Box 844, Brownsville,

                                          Oregon 97327

 North Santiam Watershed Council          284 East Water Street, Stayton, Oregon 97383

 South Santiam Watershed Council          4431 US-20, Sweet Home, Oregon 97386


         16.     None of the SEP payments shall be disbursed to WILLAMETTE

RIVERKEEPER.

///
///
///



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                 VII.   LIQUIDATED ATTORNEY FEES AND COSTS

       17.     Within fourteen (14) days of the entry of this Consent Decree, the CITY OF

ALBANY shall pay to WILLAMETTE RIVERKEEPER a total sum of one hundred and

twenty-five thousand dollars ($125,000.00) as full and complete satisfaction of any claims

that WILLAMETTE RIVERKEEPER may have for litigation expenses and costs, including

attorneys’ fees, expert fees and costs incurred in relation to this lawsuit and for costs to be

incurred in conducting compliance monitoring. Such payment shall be made by check payable

and mailed to BRICKLIN & NEWMAN, LLP, c/o Peggy Cahill, 1265 Xenia Street,

Bellingham, Washington 98229.

                               VIII. EFFECT OF DECREE

       18.     This Consent Decree is a full and complete settlement and release of all claims

alleged in WILLAMETTE RIVERKEEPER’s notices of intent to sue letters and the

Complaint and all other Clean Water Act claims known or unknown existing as of the date of

entry of this Consent Decree. WILLAMETTE RIVERKEEPER covenants not to sue and

releases Defendants (and their subsidiaries, officers, directors, shareholders, representatives,

assigns, agents, consultants, employees, officers, and attorneys, including those who have held

positions in the past) from any and all claims, causes of action, or liability under Section 505

of the Clean Water Act, 33 U.S.C. § 1365, for damages, penalties, fines, injunctive relief, or

any other claim or relief relating to, resulting from or alleging noncompliance with the Clean

Water Act occurring prior to the date the Court enters this Consent Decree. Notwithstanding

anything to the contrary contained herein, WILLAMETTE RIVERKEEPER retains all rights

necessary to enforce the terms of this Consent Decree, including by the filing of a lawsuit.

       19.     Defendants covenant not to sue and release Willamette Riverkeeper (and its

subsidiaries, officers, directors, shareholders, representatives, assigns, agents, consultants,

employees, officers and attorneys, including those who have held positions in the past) from



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any and all claims, causes of action, or liability for damages, injunctive relief or other claim or

relief relating to or resulting from Willamette Riverkeeper’s notices of intent to sue letters and

the Complaint and other Clean Water Act claims known or unknown existing as of the date of

entry of this Consent Decree.

       20.     Neither this Consent Decree, nor terms thereof, nor performance of the terms

thereunder by Defendants shall constitute or be construed as an admission or acknowledgment

by Defendants of the factual or legal assertions contained in this Consent Decree, in

WILLAMETTE RIVERKEEPER’s Complaint or in the notices of intent to sue, and Defendants

retain the right to controvert any such assertions in any subsequent proceedings, other than

proceedings for the purpose of implementing or enforcing this Consent Decree. Neither this

Consent Decree, nor terms thereof, nor performance of the terms thereunder, shall constitute

or be construed as an admission or acknowledgment by Defendants of any liability, or an

admission of violation of any law, by Defendants or by their officers, directors, employees,

representatives, agents, attorneys, consultants, successors, or assigns.

       21.     WILLAMETTE RIVERKEEPER does not, by this Consent Decree, warrant or

aver in any manner that Defendants’ compliance with this Consent Decree will constitute or

result in compliance with federal or state law or regulation. Nothing in this Consent Decree

shall be construed to affect or limit in any way the obligation of Defendants to comply with all

federal, state, and local laws and regulations governing any activity required by this Consent

Decree.

                        IX.     REVIEW AND TERM OF DECREE

       22.     The Parties recognize that, pursuant to 33 U.S.C. § 1365(c)(3), this Consent

Decree cannot be entered until forty-five (45) days after the receipt of a copy of the proposed

Consent Decree by the United States Attorney General and the U.S. Environmental Protection

Agency (“EPA”). Therefore, upon signing of this Consent Decree by the Parties, the Parties shall



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jointly inform the Court of the Consent Decree and request to stay all deadlines, and

WILLAMETTE RIVERKEEPER shall serve copies of this Consent Decree upon the EPA

Administrator, the Regional EPA Administrator, and the Attorney General for review, as required

by 40 C.F.R. § 135.5.

       23.     Upon the expiration of the forty-five-day review period provided by 33 U.S.C.

§ 1365(c)(3), the Parties will jointly move the Court for entry of this Consent Decree. This

Consent Decree shall take effect on the date it is entered by this Court. If for any reason the

Court should decline to approve this Consent Decree in the form presented, the Parties agree

to continue negotiations in good faith in an attempt to cure any objection raised by the Court

to entry of this Consent Decree.

             X.      MODIFICATION AND ENFORCEMENT OF DECREE

       24.     This Consent Decree may be amended or modified only upon written agreement

of the Parties and the approval of and entry by the Court.

       25.     This Court shall retain jurisdiction over this matter and allow this action to be

reopened for the purpose of enabling the Parties to this Consent Decree to apply to the Court

for any further order that may be necessary to construe, carry out, enforce compliance and/or

resolve any dispute regarding the terms or conditions of this Consent Decree. A precondition to

any application to the Court under this paragraph is that the Parties must first seek to resolve the

dispute themselves as follows: (a) the Party identifying a dispute must provide the other Party a

written notice detailing the nature of the issue or dispute; and (b) within thirty (30) days of

receipt of such notice, the Parties shall meet and confer regarding the issue or dispute. If no

resolution is reached at that meeting or within thirty (30) days of the written notice, whichever

first occurs, either Party may file a motion with this Court to resolve the dispute. If asked to

award fees or costs in any action to enforce this Consent Decree, the Court shall apply the same

standard applied by courts in awarding fees and costs under Section 505(d) of the Clean Water



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Act, 33 U.S.C. §1365(d). If the Court does not agree to retain jurisdiction over this matter, then

this Consent Decree will remain in full force and effect between the Parties, and any Party may

institute a new action in the United States District Court for the District of Oregon concerning

their respective rights and obligations under this Consent Decree.

                         XI.     MISCELLANEOUS PROVISIONS

       26.     Entire Agreement. This Consent Decree constitutes the entire agreement among

the Parties concerning the subject matter hereof and supersedes all previous correspondence,

communications, agreements and understandings, whether oral or written, among the Parties.

       27.     Notices. Any notice, demand, copies of documents and other communications

required to be made under the provisions of this Consent Decree (collectively, “Notices”) by

any Party hereto shall be effective only if in writing and (a) emailed, (b) personally served, (c)

mailed by United States registered or certified mail, return receipt requested, postage prepaid,

or (d) sent by a nationally recognized courier service (i.e., Federal Express) for next-day

delivery, to be confirmed in writing by such courier. Notices shall be directed to the Parties at

their respective addresses set forth below. Notices given in the foregoing manner shall be

deemed to be given when (a) actually received if sent via email, (b) actually received or refused

by the party to whom sent if delivered by courier, or (c) if mailed, on the day of actual delivery

as shown by the addressee's registered or certified mail receipt or at the expiration of three (3)

business days after the date of mailing, whichever first occurs.

    Notices for Plaintiff WILLAMETTE RIVERKEEPER shall be sent to:

                Travis Williams, Executive Director
                Elisabeth Holmes, Staff Attorney
                Willamette Riverkeeper
                403 SE Caruthers Street, # 101
                Portland, Oregon 97214
                Tel. (503) 223-6418
                Email: travis@willametteriverkeeper.org and eli@willametteriverkeeper.org

       With a copy to:



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                Bryan Telegin and Zachary Griefen
                Bricklin & Newman LLP, LLP
                c/o Peggy Cahill
                1265 Xenia Street
                Bellingham, WA 98229
                Tel. (206) 264-8600
                Email: telegin@bnd-law.com and griefen@bnd-law.com

        Notices for Defendant CITY OF ALBANY shall be sent to:

                Peter Troedsson
                333 Broadalbin St. SW
                Albany, OR 97321
                541-917-7505
                peter.troedsson@cityofalbany.net

        With a copy to:

                Sean Kidd
                Delapoer Kidd PC
                260 Ferry St. SW Ste 202
                Albany, OR 97321
                (541) 926-5505
                sean@longdel.com

        Each Party shall promptly notify the other Party of any change in the above-listed

contact information by using the procedures set forth in this paragraph.

        28.     Authorization. Each person signing this Consent Decree represents and warrants

that s/he has been duly authorized to enter into this Consent Decree by the Party on whose behalf

it is indicated that the person is signing.

        29.     Successors and Assigns. This Consent Decree shall be binding upon and inure

to the benefit of the Parties and their respective representatives, heirs, executors, administrators,

successors, officers, directors, agents, attorneys, employees and permitted assigns.

        30.     Interpretation. The provisions contained herein shall not be construed in favor

of or against any Party because that Party or its counsel drafted this Consent Decree, but shall

be construed as if all Parties prepared this Consent Decree, and any rules of construction to the

contrary are hereby specifically waived. The terms of this Consent Decree were negotiated at

arm’s length by the Parties hereto.


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       31.     Headings. The section and paragraph headings contained in this Consent Decree

are for reference purposes only and shall not affect in any way the meaning or interpretation of

this Consent Decree.

       32.     Counterparts. Facsimile, electronic and scanned signatures shall be deemed to

be originals for all purposes. Copies of the original Agreement, whether transmitted by

facsimile or other means, shall be effective. This Agreement may be signed in counterparts.

       33.     Severability. In the event that any of the provisions of this Consent Decree are

held by a court to be unenforceable, the validity of the enforceable provisions shall not be

adversely affected.




                                   [Signature Page Follows]




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       The signatories for the Parties certify that they are authorized by the party they represent

to enter into these Stipulations and this Consent Decree.

WILLAMETTE RIVERKEEPER

By:                                      Date:
      TRAVIS WILLIAMS, EXECUTIVE DIRECTOR AND RIVERKEEPER
      WILLAMETTE RIVERKEEPER

BRICKLIN & NEWMAN, LLP


By:                                                      Date: March 7, 2022
      BRYAN TELEGIN, OSB # 105253
      ATTORNEYS FOR PLAINTIFF WILLAMETTE RIVERKEEPER

CITY OF ALBANY, OREGON

By:                                                      Date:
      PETER TROEDSSON
      CITY OF ALBANY

PETER TROEDSSON

By: _______________________________________Date:___________
   PETER TROEDSSON

CABLE HUSTON LLP

By:                                                      Date:
      G. KEVIN KIELY, OSB # 833950
      ATTORNEYS FOR DEFENDANT CITY OF ALBANY, OREGON AND PETER
      TROEDSSON



ENTERED and DATED this              day of              , _______.



                                         ____________________
                                         Honorable Ann L. Aiken
                                         United States District Judge




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       The signatories for the Parties certify that they are authorized by the party they represent

to enter into these Stipulations and this Consent Decree.

WILLAMETTE RIVERKEEPER

By:                                      Date:
      TRAVIS WILLIAMS, EXECUTIVE DIRECTOR AND RIVERKEEPER
      WILLAMETTE RIVERKEEPER


BRICKLIN & NEWMAN, LLP

By:                                     Date:
      BRYAN TELEGIN, OSB # 105253
      ATTORNEYS FOR PLAINTIFF WILLAMETTE RIVERKEEPER

CITY OF ALBANY, OREGON

By:                                                      Date:
      PETER TROEDSSON
      CITY OF ALBANY

PETER TROEDSSON

By: _______________________________________Date:___________
   PETER TROEDSSON

CABLE HUSTON LLP

By:                                                      Date: 3/7/2022
      G. KEVIN KIELY, OSB # 833950
      ATTORNEYS FOR DEFENDANT CITY OF ALBANY, OREGON AND PETER
      TROEDSSON



ENTERED and DATED this              day of              , _______.



                                         ____________________
                                         Honorable Ann L. Aiken
                                         United States District Judge




15 - CONSENT DECREE
